     Case 1:22-cr-00015-APM    Document 679     Filed 07/28/23   Page 1 of 1




                       UNITED STATES DISTRICT COURT
                       FOR THE DISRICT OF COLUMBIA


UNITED STATES OF AMERICA            )
                                    )
                                    )
v.                                  )       Case No. 22-cr-00015
                                    )
ROBERTO MINUTA                      )
                                    )
                                    )
                  Defendant         )
                                    )



          DEFENDANT ROBERTO MINUTA’S NOTICE OF APPEAL

      Pursuant to Federal Rule of Appellate Procedure 4(b), notice is hereby

given that Defendant Roberto Minuta, hereby appeals to the United States

Court of Appeals for the District of Columbia Circuit from Order denying

Defendant Minuta’s Motion for Release of Custody Pending Appeal.



Dated: July 28, 2023                Respectfully submitted,

                                    /s/ William L. Shipley
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